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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                      DELTA DIVISION

MARK T. STINSON, SR.                                                                        PLAINTIFF

v.                                 Case No. 2:22-CV-00219-LPR

OFFICER K. CAULEY, et al.                                                               DEFENDANTS

                                                ORDER

           The Court has received the Findings and Recommendation (FR) from Magistrate Judge

Patricia S. Harris. The Court has also received timely objections from Mr. Stinson. After a careful

review of Mr. Stinson’s objections, and a de novo review of the FR and the record, the Court

concludes that the FR should be, and hereby is, approved and adopted in its entirety as this Court’s

findings in all respects. The Complaint filed by Mr. Stinson is DISMISSED with prejudice.1 Mr.

Stinson’s Motion for Summons is DENIED.2 The Court certifies pursuant to 28 U.S.C. §

1915(a)(3) that an in forma pauperis appeal from this Order or the accompanying Judgment would

not be taken in good faith.3

           IT IS SO ORDERED this 6th day of April 2023.




                                                         ________________________________
                                                         LEE P. RUDOFSKY
                                                         UNITED STATES DISTRICT JUDGE




1
    Compl. (Doc. 1).
2
    Mot. for Summons (Doc. 14).
3
  Mr. Stinson’s Motion to Amend (Doc. 49) is DENIED. For all the reasons discussed above and in the FR, the
proposed amendment is futile.
